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                             EXHIBIT C
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   1                                 DECLARATION OF STEVE KIRVAN
   2          I, Steve Kirvan, hereby declare:

   3           1.     I am over the age of eighteen years, am suffering from no mental disability, and am

   4   legally competent to make this Declaration. Said Declaration is based on my personal knowledge

   5   and based upon a review of business records of Corporation Service Company which will do

   6   business in California as CSC-Lawyers Incorporating Service (hereafter referred to as "CSC").

   7          2.      I am the Service of Process Research Coordinator in the Litigation Management

   8   Department of CSC. It is my job to access and review business records of CSC relating to receipt of

   9   service of process and to communicate with customers and agents of CSC in order to determine

  1O when and whether legal process has been served on a customer of CSC.

  11          3.      CSC is a Delaware corporation which has been providing services to the legal

  12   community for more than 100 years. CSC is a national provider of registered agent services. As

  13   such, CSC provides business entities with a registered agent and/or registered office in the state

  14   where the entity is domiciled, and/or the states where it is qualified or registered to conduct business

  15   as a foreign entity. CSC receives service of process on behalf of companies that appoint it as their

  16   registered agent. Upon receipt of service, CSC then forwards the served legal documents to the

  17   identified recipient company at its physical and/or electronic address as listed in CSC' s record

  18   database.

  19          4.      CSC documents and maintains records of all documents served upon it on behalf of

  20   the companies for which it is registered agent. CSC's customary business practice relating to the

  21   receipt of service of process is as follows: On the same day the service of process is received by

  22   CSC, the service is logged and the documents are scanned into CSC's Litigation Management

  23   System (hereafter referred to as "LMS"), which is a centralized database developed and used by

  24   CSC to capture essential information about each service of process it receives. Specifically, CSC

  25   uses LMS to ensure that: (i) the service of all legal documents is properly recorded and preserved in

  26   CSC' s database system, and (ii) the customer is timely advised of such service. The scanned

  27   documents are then stored electronically. These records are prepared and kept by CSC in the regular

  28   and ordinary course of its business.

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                                         DECLARATION OF STEVE KIRV AN
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   1            5.      CSC is a registered agent service provider in the State of Cali fornia. CSC maintains

   2   an office location at 27 10 Gateway Oaks Drive, Suite ISON, Sacramento, CA 95833-3505 for the

   3   receipt and intake of serv ice of process on behalf of entities that have named it as their registered

   4   agent.

   5            6.      CSC is the registered agent fo r Capital One National Association in the State of

   6   California.

   7            7.      Upon information and belief CSC has been info rmed of a Plainti ff's C laim and Order

   8   to Go to Small Claims Court in the matter of Gegham Markosyan v. Capital One National

   9   Association Case No . l 6M03 l 6 l in the Los Angeles County Superior Court, CA directed to Capital

  10   One National Association that was allegedly served to CSC's California office on April 6, 2016.

  11            8.      CSC has no record of receiving the aforementioned Plaintiffs Claim and Order to Go

  12   to Small Claims Court according to a review of CSC's records kept in the regular and o rdinary

  13   course of business.

  14            I declare under penalty of perjury under the laws of the States of California and Delaware,

  15   and under the laws of the United States of A merica, that the foregoing is true and correct. Executed

  16   on August     5 D, 2016, at Wilmington, Delaware .
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                                                                STEVE KIRV AN, Declarant
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                                          DEC LARAT ION OF STEVE KIRV AN
